         Case 1:24-cv-02670-RJL             Document 1-2    Filed 09/18/24      Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                               Plaintiff,

          v.

   RYAN COHEN
                                                        Civil Action No.
                               Defendant.



                                  STIPULATION AND ORDER

         It is stipulated by and between the undersigned parties, subject to approval and entry by

the Court, that:

         (1) The Court has jurisdiction over the subject matter of this action and over each of the

parties hereto, and venue for this action is proper in the United States District Court for the

District of Columbia. Defendant waives service of summons of the Complaint and authorizes

Baker & Miller PLLC to accept service of all process in this matter on his behalf;

         (2) A Final Judgment in the form attached as Exhibit A may be filed with and entered by

the Court, upon the motion of the United States or upon the Court’s own motion, after

compliance with the requirements of the Antitrust Procedures and Penalties Act (“APPA”) (15

U.S.C. § 16), and without further notice to any party or other proceedings, provided that the

United States has not withdrawn its consent. The United States may withdraw its consent at any

time before the entry of judgment by serving notice on Defendant and filing that notice with the

Court;
       Case 1:24-cv-02670-RJL          Document 1-2        Filed 09/18/24      Page 2 of 6




       (3) Defendant must arrange, at his expense, publication as quickly as possible of the

newspaper notice required by the APPA, which will be drafted by the United States in its sole

discretion. The publication must be arranged no later than five (5) business days after

Defendant’s receipt from the United States of the text of the notice and the identity of the

newspaper or newspapers within which the publication must be made. Defendant must promptly

send to the United States (a) confirmation that publication of the newspaper notice has been

arranged and (b) the certification of the publication prepared by the newspaper or newspapers

within which the notice was published;

       (4) This Stipulation and Order applies with equal force and effect to any amended

proposed Final Judgment agreed upon in writing by the United States and Defendant and

submitted to the Court;

       (5) Defendant represents that the actions he is required to perform pursuant to the

proposed Final Judgment can and will be performed, and that the Defendant will not later raise a

claim of mistake, hardship, or difficulty of compliance as grounds for asking the Court to modify

any of its provisions;

       (6) In the event that (a) the United States has withdrawn its consent, as provided in

Paragraph (2); (b) the United States voluntarily dismisses the Complaint in this matter; or (c) the

Court declines to enter the proposed Final Judgment, the time has expired for all appeals of any

ruling declining entry of the proposed Final Judgment, and the Court has not otherwise ordered

continued compliance with the terms and provisions of the proposed Final Judgment, Defendant

is released from all further obligations under this Stipulation and Order and the making of this

Stipulation and Order will be without prejudice to any party in this or any other proceeding; and


                                                 2
       Case 1:24-cv-02670-RJL          Document 1-2        Filed 09/18/24      Page 3 of 6




       (7) The entry of the Final Judgment in accordance with this Stipulation and Order settles,

discharges, and releases any and all claims of the United States for civil penalties and equitable

relief pursuant to Section 7A(g)(1) of the Clayton Act, 15 U.S.C. § 18a(g)(1), against Defendant

for failure to comply with Section 7A of the Clayton Act, 15 U.S.C. § 18a, in connection with

Defendant’s acquisitions of voting securities for which Defendant made filings under Section 7A

of the Clayton Act, 15 U.S.C. § 18a, on January 14, 2021.




                                                 3
         Case 1:24-cv-02670-RJL     Document 1-2   Filed 09/18/24   Page 4 of 6




FOR THE DEFENDANT:

Ryan Cohen


By:      ______________________________
         W. Todd Miller (D.C. Bar #414930)
         Baker & Miller PLLC
         Suite 300
         2401 Pennsylvania Avenue, N.W.
         Washington, D.C. 20037

         Counsel for Defendant Ryan Cohen


Dated:




                                             4
         Case 1:24-cv-02670-RJL              Document 1-2      Filed 09/18/24                        Page 5 of 6




FOR PLAINTIFF UNITED STATES:
 Jonathan     Digitally signed by Jonathan
              Kanter
                                                          HENRY Digitally    signed
                                                                    by HENRY LIU

 Kanter       Date: 2024.09.13 16:17:47
____________________________
              -04'00'                                     LIU       Date: 2024.09.17
                                                        _____________________________
                                                                    08:20:14 -04'00'

Jonathan S. Kanter (DC Bar #473286)                     Henry Liu (DC Bar #986296)
Assistant Attorney General for Antitrust                Director, Bureau of Competition
United States Department of Justice                      TARA KOSLOV KOSLOV
                                                                                Digitally signed by TARA


Antitrust Division                                      ______________________________
                                                                     Date: 2024.09.17 11:11:13 -04'00'


950 Pennsylvania Avenue, N.W.                           Tara Isa Koslov (DC Bar #448147)
Washington, D.C. 20530                                  Deputy Director, Bureau of Competition
                                                                                            Digitally signed by MARIBETH
                                                        MARIBETH PETRIZZI PETRIZZI
                                                        ______________________________
                                                                            Date: 2024.09.17 11:34:49 -04'00'

                                                        Maribeth Petrizzi (DC Bar #435204)
                                                        Assistant Director
                                                        KENNETH LIBBY Date: 2024.09.17 12:07:44 -04'00'
                                                        ______________________________
                                                                                        Digitally signed by KENNETH LIBBY



                                                        Kenneth A. Libby
                                                        Attorney
                                                        JENNIFER LEE
                                                        ______________________________
                                                                                        Digitally signed by JENNIFER LEE
                                                                       Date: 2024.09.17 11:37:34 -04'00'


                                                        Jennifer Lee
                                                        Attorney
                                                        Danielle Sims
                                                        ______________________________
                                                                                               Digitally signed by Danielle Sims
                                                                                               Date: 2024.09.17 11:43:54 -04'00'

                                                        Danielle Sims (DC Bar #982506)
                                                        Attorney

                                                        Federal Trade Commission
                                                        Bureau of Competition
                                                        600 Pennsylvania Avenue, N.W.
                                                        Washington, D.C. 20580
                                                        (202) 326-2694




                                                    5
      Case 1:24-cv-02670-RJL      Document 1-2     Filed 09/18/24   Page 6 of 6




                                       ORDER

IT IS SO ORDERED by the Court, this _____ day of _______________, _______.



                                              __________________________
                                              United States District Judge




                                          6
